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                   6
                           Attorneys for Defendant
                   7       UNITED PARCEL SERVICE, INC.
                   8
                                                   UNITED STATES DISTRICT COURT
                   9
                                                 CENTRAL DISTRICT OF CALIFORNIA
                10
                11
                           LANCE CASEY,                                    Case No. 2:21-cv-04911-DSF(MAAx)
                12                                                        _____________
                                           Plaintiff,                     STIPULATED PROTECTIVE
                13                                                        ORDER
                                 v.
                14                                                        DISCOVERY MATTER
                           UNITED PARCEL SERVICE, INC.; and
                15         DOES 1 through 20, inclusive,                   Complaint Filed: April 1, 2021
                16                         Defendants.
                17
                18         1.    PURPOSES AND LIMITATIONS
                19               Discovery in this action is likely to involve production of confidential,
                20         proprietary, or private information for which special protection from public disclosure
                21         and from use for any purpose other than prosecuting this litigation may be warranted.
                22         Accordingly, the parties hereby stipulate to and petition the Court to enter the
                23         following Stipulated Protective Order. The parties acknowledge that this Stipulated
                24         Protective Order does not confer blanket protections on all disclosures or responses to
                25         discovery and that the protection it affords from public disclosure and use extends
                26         only to the limited information or items that are entitled to confidential treatment
                27         under the applicable legal principles. The parties further acknowledge, as set forth in
                28         Section 13.3 below, that this Stipulated Protective Order does not entitle them to file
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                   1       confidential information under seal; Local Rule 79-5 sets forth the procedures that
                   2       must be followed and the standards that will be applied when a party seeks permission
                   3       from the Court to file material under seal.
                   4
                   5       2.     GOOD CAUSE STATEMENT
                   6              This action is likely to involve confidential and proprietary human resources or
                   7       business information; compensation of Defendant’s current or former personnel;
                   8       policies, procedures, or training materials of Defendant; Defendant’s organizational
                   9       structure; personnel, medical, or workers’ compensation files; medical or health
                10         information; social security, financial, and personally identifiable information,
                11         medical and health information of Plaintiff; and trade secrets, customer and pricing
                12         lists and other valuable research, development, commercial, financial, technical and/or
                13         proprietary information for which special protection from public disclosure and from
                14         use for any purpose other than prosecution of this action is warranted. Such
                15         confidential and proprietary materials and information consist of, among other things,
                16         confidential business or financial information, information regarding confidential
                17         business practices, or other confidential research, development, or commercial
                18         information (including information implicating privacy rights of third parties),
                19         information otherwise generally unavailable to the public, or which may be privileged
                20         or otherwise protected from disclosure under state or federal statutes, court rules, case
                21         decisions, or common law. Accordingly, to expedite the flow of information, to
                22         facilitate the prompt resolution of disputes over confidentiality of discovery materials,
                23         to adequately protect information the parties are entitled to keep confidential, to
                24         ensure that the parties are permitted reasonable necessary uses of such material in
                25         preparation for and in the conduct of trial, to address their handling at the end of the
                26         litigation, and to serve the ends of justice, a protective order for such information is
                27         justified in this matter. It is the intent of the parties that information will not be
                28         designated as confidential for tactical reasons and that nothing be so designated
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                   1       without a good faith belief that it has been maintained in a confidential, non-public
                   2       manner, and there is good cause why it should not be part of the public record of this
                   3       case.
                   4
                   5       3.      DEFINITIONS
                   6               3.1   Action: Lance Casey v. United Parcel Service, Inc., Case No. 2:21-cv-
                   7                     04911-DSF(MAAx).
                   8               3.2   Challenging Party: A Party or Nonparty that challenges the designation
                   9                     of information or items under this Stipulated Protective Order.
                10                 3.3   “CONFIDENTIAL” Information or Items: Information (regardless of
                11                       how it is generated, stored or maintained) or tangible things that qualify
                12                       for protection under Federal Rule of Civil Procedure 26(c), and as
                13                       specified above in the Good Cause Statement.
                14                 3.4   Counsel: Outside Counsel of Record and In-House Counsel (as well as
                15                       their support staff).
                16                 3.5   Designating Party: A Party or Nonparty that designates information or
                17                       items that it produces in disclosures or in responses to discovery as
                18                       “CONFIDENTIAL.”
                19                 3.6   Disclosure or Discovery Material: All items or information, regardless of
                20                       the medium or manner in which it is generated, stored, or maintained
                21                       (including, among other things, testimony, transcripts, and tangible
                22                       things), that is produced or generated in disclosures or responses to
                23                       discovery in this matter.
                24                 3.7   Expert: A person with specialized knowledge or experience in a matter
                25                       pertinent to the litigation who has been retained by a Party or its counsel
                26                       to serve as an expert witness or as a consultant in this Action.
                27                 3.8   In-House Counsel: Attorneys who are employees of a party to this
                28                       Action. In-House Counsel does not include Outside Counsel of Record or
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                   1                    any other outside counsel.
                   2             3.9    Nonparty: Any natural person, partnership, corporation, association, or
                   3                    other legal entity not named as a Party to this action.
                   4             3.10 Outside Counsel of Record: Attorneys who are not employees of a party
                   5                    to this Action but are retained to represent or advise a party to this Action
                   6                    and have appeared in this Action on behalf of that party or are affiliated
                   7                    with a law firm which has appeared on behalf of that party, and includes
                   8                    support staff.
                   9             3.11 Party: Any party to this Action, including all of its officers, directors,
                10                      employees, consultants, retained experts, In-House Counsel, and Outside
                11                      Counsel of Record (and their support staffs).
                12               3.12 Producing Party: A Party or Nonparty that produces Disclosure or
                13                      Discovery Material in this Action.
                14               3.13 Professional Vendors: Persons or entities that provide litigation support
                15                      services (e.g., photocopying, videotaping, translating, preparing exhibits
                16                      or demonstrations, and organizing, storing, or retrieving data in any form
                17                      or medium) and their employees and subcontractors.
                18               3.14 Protected Material: Any Disclosure or Discovery Material that is
                19                      designated as “CONFIDENTIAL.”
                20               3.15 Receiving Party: A Party that receives Disclosure or Discovery Material
                21                      from a Producing Party.
                22
                23         4.    SCOPE
                24               The protections conferred by this Stipulated Protective Order cover not only
                25         Protected Material, but also (1) any information copied or extracted from Protected
                26         Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
                27         and (3) any testimony, conversations, or presentations by Parties or their Counsel that
                28         might reveal Protected Material.
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                   1               Any use of Protected Material at trial shall be governed by the orders of the trial
                   2       judge. This Stipulated Protective Order does not govern the use of Protected Material
                   3       at trial.
                   4
                   5       5.      DURATION
                   6               Even after final disposition of this litigation, the confidentiality obligations
                   7       imposed by this Stipulated Protective Order shall remain in effect until a Designating
                   8       Party agrees otherwise in writing or a court order otherwise directs. Final disposition
                   9       shall be deemed to be the later of (1) dismissal of all claims and defenses in this
                10         Action, with or without prejudice; and (2) final judgment herein after the completion
                11         and exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
                12         including the time limits for filing any motions or applications for extension of time
                13         pursuant to applicable law.
                14
                15         6.      DESIGNATING PROTECTED MATERIAL
                16                 6.1.   Exercise of Restraint and Care in Designating Material for Protection.
                17                              Each Party or Nonparty that designates information or items for
                18                        protection under this Stipulated Protective Order must take care to limit
                19                        any such designation to specific material that qualifies under the
                20                        appropriate standards. The Designating Party must designate for
                21                        protection only those parts of material, documents, items, or oral or
                22                        written communications that qualify so that other portions of the
                23                        material, documents, items, or communications for which protection is
                24                        not warranted are not swept unjustifiably within the ambit of this
                25                        Stipulated Protective Order.
                26                              Mass, indiscriminate, or routinized designations are prohibited.
                27                        Designations that are shown to be clearly unjustified or that have been
                28                        made for an improper purpose (e.g., to unnecessarily encumber the case
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                   1              development process or to impose unnecessary expenses and burdens on
                   2              other parties) may expose the Designating Party to sanctions.
                   3       6.2.   Manner and Timing of Designations.
                   4                    Except as otherwise provided in this Stipulated Protective Order
                   5              (see, e.g., Section 6.2(a)), or as otherwise stipulated or ordered,
                   6              Disclosure or Discovery Material that qualifies for protection under this
                   7              Stipulated Protective Order must be clearly so designated before the
                   8              material is disclosed or produced.
                   9                    Designation in conformity with this Stipulated Protective Order
                10                requires the following:
                11                (a)   For information in documentary form (e.g., paper or electronic
                12                      documents, but excluding transcripts of depositions or other
                13                      pretrial or trial proceedings), that the Producing Party affix at a
                14                      minimum, the legend “CONFIDENTIAL” to each page that
                15                      contains protected material. If only a portion or portions of the
                16                      material on a page qualifies for protection, the Producing Party
                17                      also must clearly identify the protected portion(s) (e.g., by making
                18                      appropriate markings in the margins).
                19                (b)   For testimony given in depositions, that the Designating Party
                20                      identify the Disclosure or Discovery Material on the record, before
                21                      the close of the deposition, all protected testimony.
                22                (c)   For information produced in nondocumentary form, and for any
                23                      other tangible items, that the Producing Party affix in a prominent
                24                      place on the exterior of the container or containers in which the
                25                      information is stored the legend “CONFIDENTIAL.” If only a
                26                      portion or portions of the information warrants protection, the
                27                      Producing Party, to the extent practicable, shall identify the
                28                      protected portion(s).
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                   1             6.3.   Inadvertent Failure to Designate.
                   2                          If timely corrected, an inadvertent failure to designate qualified
                   3                    information or items does not, standing alone, waive the Designating
                   4                    Party’s right to secure protection under this Stipulated Protective Order
                   5                    for such material. Upon timely correction of a designation, the Receiving
                   6                    Party must make reasonable efforts to assure that the material is treated in
                   7                    accordance with the provisions of this Stipulated Protective Order.
                   8
                   9       7.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
                10               7.1.   Timing of Challenges.
                11                            Any Party or Nonparty may challenge a designation of
                12                      confidentiality at any time that is consistent with the Court’s Scheduling
                13                      Order.
                14               7.2.   Meet and Confer.
                15                            The Challenging Party shall initiate the dispute resolution process,
                16                      which shall comply with Local Rule 37.1 et seq., and with Section 4 of
                17                      Judge Audero’s Procedures (“Mandatory Telephonic Conference for
                18                      Discovery Disputes”). 1
                19               7.3.   Burden of Persuasion.
                20                            The burden of persuasion in any such challenge proceeding shall
                21                      be on the Designating Party. Frivolous challenges, and those made for an
                22                      improper purpose (e.g., to harass or impose unnecessary expenses and
                23                      burdens on other parties) may expose the Challenging Party to sanctions.
                24                      Unless the Designating Party has waived or withdrawn the confidentiality
                25                      designation, all parties shall continue to afford the material in question
                26                      the level of protection to which it is entitled under the Producing Party’s
                27
                28         1
                            Judge Audero's Procedures are available at
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                   1                   designation until the Court rules on the challenge.
                   2
                   3
                   4       8.   ACCESS TO AND USE OF PROTECTED MATERIALS
                   5            8.1.   Basic Principles.
                   6                         A Receiving Party may use Protected Material that is disclosed or
                   7                   produced by another Party or by a Nonparty in connection with this
                   8                   Action only for prosecuting, defending, or attempting to settle this
                   9                   Action. Such Protected Material may be disclosed only to the categories
                10                     of persons and under the conditions described in this Stipulated
                11                     Protective Order. When the Action reaches a final disposition, a
                12                     Receiving Party must comply with the provisions of Section 14 below.
                13                           Protected Material must be stored and maintained by a Receiving
                14                     Party at a location and in a secure manner that ensures that access is
                15                     limited to the persons authorized under this Stipulated Protective Order.
                16                     A computer and/or cloud server that is password protected shall comply.
                17              8.2.   Disclosure of “CONFIDENTIAL” Information or Items.
                18                           Unless otherwise ordered by the Court or permitted in writing by
                19                     the Designating Party, a Receiving Party may disclose any information or
                20                     item designated “CONFIDENTIAL” only to:
                21                     (a)    The Receiving Party’s Outside Counsel of Record, as well as
                22                            employees of said Outside Counsel of Record to whom it is
                23                            reasonably necessary to disclose the information for this Action;
                24                     (b)    The officers, directors, support personnel, and employees
                25                            (including In-House Counsel) of the Receiving Party to whom
                26                            disclosure is reasonably necessary for this Action;
                27                     (c)    Experts of the Receiving Party to whom disclosure is reasonably
                28                            necessary for this Action and who have signed the
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                   1                      “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                   2                (d)   The Court and its personnel;
                   3                (e)   Court reporters and their staff;
                   4                (f)   Professional jury or trial consultants, mock jurors, and
                   5                      Professional Vendors to whom disclosure is reasonably necessary
                   6                      or this Action and who have signed the “Acknowledgment and
                   7                      Agreement to be Bound” (Exhibit A);
                   8                (g)   The author or recipient of a document containing the information
                   9                      or a custodian or other person who otherwise possessed or knew
                10                        the information;
                11                  (h)   During their depositions, witnesses, and attorneys for witnesses,
                12                        in the Action to whom disclosure is reasonably necessary
                13                        provided: (i) the deposing party requests that the witness sign the
                14                        “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
                15                        (ii) the witness will not be permitted to keep any confidential
                16                        information unless they sign the “Acknowledgment and
                17                        Agreement to Be Bound,” unless otherwise agreed by the
                18                        Designating Party or ordered by the Court. Pages of transcribed
                19                        deposition testimony or exhibits to depositions that reveal
                20                        Protected Material may be separately bound by the court reporter
                21                        and may not be disclosed to anyone except as permitted under this
                22                        Stipulated Protective Order; and
                23                  (i)   Any mediator or settlement officer, and their supporting
                24                        personnel, mutually agreed upon by any of the parties engaged in
                25                        settlement discussions.
                26
                27         9.   PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
                28              IN OTHER LITIGATION
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                   1             If a Party is served with a subpoena or a court order issued in other litigation
                   2       that compels disclosure of any information or items designated in this Action as
                   3       “CONFIDENTIAL,” that Party must:
                   4                 (a)      Promptly notify in writing the Designating Party. Such notification
                   5                          shall include a copy of the subpoena or court order;
                   6                 (b)      Promptly notify in writing the party who caused the subpoena or order
                   7                          to issue in the other litigation that some or all of the material covered
                   8                          by the subpoena or order is subject to this Stipulated Protective Order.
                   9                          Such notification shall include a copy of this Stipulated Protective
                10                            Order; and
                11                   (c)      Cooperate with respect to all reasonable procedures sought to be
                12                            pursued by the Designating Party whose Protected Material may be
                13                            affected.
                14               If the Designating Party timely seeks a protective order, the Party served with
                15         the subpoena or court order shall not produce any information designated in this
                16         action as “CONFIDENTIAL” before a determination by the Court from which the
                17         subpoena or order issued, unless the Party has obtained the Designating Party’s
                18         permission. The Designating Party shall bear the burden and expense of seeking
                19         protection in that court of its confidential material and nothing in these provisions
                20         should be construed as authorizing or encouraging a Receiving Party in this Action to
                21         disobey a lawful directive from another court.
                22
                23         10.   A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
                24               PRODUCED IN THIS LITIGATION
                25               10.1. Application.
                26                               The terms of this Stipulated Protective Order are applicable to
                27                         information produced by a Nonparty in this Action and designated as
                28                         “CONFIDENTIAL.” Such information produced by Nonparties in
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                   1             connection with this litigation is protected by the remedies and relief
                   2             provided by this Stipulated Protective Order. Nothing in these provisions
                   3             should be construed as prohibiting a Nonparty from seeking additional
                   4             protections.
                   5       10.2. Notification.
                   6                   In the event that a Party is required, by a valid discovery request,
                   7             to produce a Nonparty’s confidential information in its possession, and
                   8             the Party is subject to an agreement with the Nonparty not to produce the
                   9             Nonparty’s confidential information, then the Party shall:
                10               (a)   Promptly notify in writing the Requesting Party and the Nonparty
                11                     that some or all of the information requested is subject to a
                12                     confidentiality agreement with a Nonparty;
                13               (b)   Promptly provide the Nonparty with a copy of the Stipulated
                14                     Protective Order in this Action, the relevant discovery request(s),
                15                     and a reasonably specific description of the information requested;
                16                     and
                17               (c)   Make the information requested available for inspection by the
                18                     Nonparty, if requested.
                19         10.3. Conditions of Production.
                20                     If the Nonparty fails to seek a protective order from this Court
                21               within fourteen (14) days after receiving the notice and accompanying
                22               information, the Receiving Party may produce the Nonparty’s
                23               confidential information responsive to the discovery request. If the
                24               Nonparty timely seeks a protective order, the Receiving Party shall not
                25               produce any information in its possession or control that is subject to the
                26               confidentiality agreement with the Nonparty before a determination by
                27               the Court. Absent a court order to the contrary, the Nonparty shall bear
                28               the burden and expense of seeking protection in this Court of its
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                   1                       Protected Material.
                   2
                   3       11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                   4             If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                   5       Protected Material to any person or in any circumstance not authorized under this
                   6       Stipulated Protective Order, the Receiving Party immediately must (1) notify in
                   7       writing the Designating Party of the unauthorized disclosures, (2) use its best efforts
                   8       to retrieve all unauthorized copies of the Protected Material, (3) inform the person or
                   9       persons to whom unauthorized disclosures were made of all the terms of this
                10         Stipulated Protective Order, and (4) request such person or persons to execute the
                11         “Acknowledgment and Agreement to be Bound” (Exhibit A).
                12
                13         12.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                14               PROTECTED MATERIAL
                15               When a Producing Party gives notice to Receiving Parties that certain
                16         inadvertently produced material is subject to a claim of privilege or other protection,
                17         the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                18         Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
                19         may be established in an e-discovery order that provides for production without prior
                20         privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
                21         parties reach an agreement on the effect of disclosure of a communication or
                22         information covered by the attorney-client privilege or work product protection, the
                23         parties may incorporate their agreement in the Stipulated Protective Order submitted
                24         to the Court.
                25
                26
                27         13.   MISCELLANEOUS
                28               13.1. Right to Further Relief.
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                   1                           Nothing in this Stipulated Protective Order abridges the right of
                   2                    any person to seek its modification by the Court in the future.
                   3             13.2. Right to Assert Other Objections.
                   4                           By stipulating to the entry of this Stipulated Protective Order, no
                   5                    Party waives any right it otherwise would have to object to disclosing or
                   6                    producing any information or item on any ground not addressed in this
                   7                    Stipulated Protective Order. Similarly, no Party waives any right to
                   8                    object on any ground to use in evidence of any of the material covered by
                   9                    this Stipulated Protective Order.
                10               13.3. Filing Protected Material. A Party that seeks to file under seal any
                11                      Protected Material must comply with Local Rule 79-5. Protected Material
                12                      may only be filed under seal pursuant to a court order authorizing the
                13                      sealing of the specific Protected Material at issue. If a Party's request to
                14                      file Protected Material under seal is denied by the Court, then the
                15                      Receiving Party may file the information in the public record unless
                16                      otherwise instructed by the Court.
                17
                18         14.   FINAL DISPOSITION
                19               After the final disposition of this Action, within sixty (60) days of a written
                20         request by the Designating Party, each Receiving Party must return all Protected
                21         Material to the Producing Party or destroy such material. As used in this subdivision,
                22         “all Protected Material” includes all copies, abstracts, compilations, summaries, and
                23         any other format reproducing or capturing any of the Protected Material. Whether the
                24         Protected Material is returned or destroyed, the Receiving Party must submit a written
                25         certification to the Producing Party (and, if not the same person or entity, to the
                26         Designating Party) by the 60-day deadline that (1) identifies (by category, where
                27         appropriate) all the Protected Material that was returned or destroyed and (2) affirms
                28         that the Receiving Party has not retained any copies, abstracts, compilations,
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                   1       summaries or any other format reproducing or capturing any of the Protected Material.
                   2       Notwithstanding this provision, Counsel is entitled to retain an archival copy of all
                   3       pleadings; motion papers; trial, deposition, and hearing transcripts; legal memoranda;
                   4       correspondence; deposition and trial exhibits; expert reports; attorney work product;
                   5       and consultant and expert work product, even if such materials contain Protected
                   6       Material. Any such archival copies that contain or constitute Protected Material
                   7       remain subject to this Stipulated Protective Order as set forth in Section 5.
                   8
                   9       15.   VIOLATION
                10               Any violation of this Stipulated Order may be punished by any and all
                11         appropriate measures including, without limitation, contempt proceedings and/or
                12         monetary sanctions.
                13
                14         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                15
                16         Dated: November 12, 2021                /s/Lawrence W. Freiman ____________
                17                                                 Lawrence W. Freiman, Esq.
                                                                   FREIMAN LEGAL, P.C.
                18                                                 Attorney for Plaintiff Lance Casey
                19
                20         Dated: November 12, 2021                /s/Charles Cannizzaro_______________
                21                                                 Charles Cannizzaro, Esq.
                                                                   LITTLER MENDELSON, P.C.
                22                                                 Attorneys for Defendant, United Parcel Service,
                23                                                 Inc.
                           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                24
                25
                                   November 17, 2021
                           Dated: ______________________                  ________________________________
                26
                                                                          Maria A. Audero
                27
                                                                          United States Magistrate Judge
                28
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              Case 2:21-cv-04911-DSF-MAA Document 21 Filed 11/17/21 Page 15 of 15 Page ID #:169



                   1                                               EXHIBIT A
                   2                      ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                   3                I, _____________________________[full name], of ____________________
                   4       __________________[address], declare under penalty of perjury that I have read in its
                   5       entirety and understand the Stipulated Protective Order that was issued by the United
                   6       States District Court for the Central District of California on ___________________
                   7       [date] in the case of Lance Casey v. United Parcel Service, Inc., Case No. 2:21-cv-
                   8       04911-DSF(MAAx). I agree to comply with and to be bound by all the terms of this
                   9       Stipulated Protective Order, and I understand and acknowledge that failure to so
                10         comply could expose me to sanctions and punishment in the nature of contempt. I
                11         solemnly promise that I will not disclose in any manner any information or item that is
                12         subject to this Stipulated Protective Order to any person or entity except in strict
                13         compliance with the provisions of this Stipulated Protective Order.
                14                  I further agree to submit to the jurisdiction of the United States District Court
                15         for the Central District of California for the purpose of enforcing the terms of this
                16         Stipulated Protective Order, even if such enforcement proceedings occur after
                17         termination of this action. I hereby appoint ________________________[full name]
                18         of ________________________________________[address and telephone number]
                19         as my California agent for service of process in connection with this action or any
                20         proceedings related to enforcement of this Stipulated Protective Order.
                21
                22         Signature:                                        ________________________________
                23         Printed Name:                                     ________________________________
                24         Date:                                             ________________________________
                25         City and State Where Sworn and Signed:            ________________________________
                26
                           4853-5058-5090.1 / 110830-1016
                27
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LITTLER MEND ELSO N P.C.
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